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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

KENNETH GOLDSMITH, CIVIL DIVISION

No. 2216-cv-01362-MRH
Plaintiff,

Elecrrom`calb) Filed
V.

FREDERICK BAER GOLDSMITH, et al.,

Defendants.

DEFENDANT FREDERICK GOLDSMITH’S STATUS UPDATE
On May 8, 2017, the Conrt ordered Plaintiff Kenneth Goldsmith to identify an address

Where the property in Defendant Frederick Goldsmith’s possession that belongs to Plaintiff
Kenneth Goldsmith can be delivered. Defendant Frederick Goldsrnith timely filed a status report
identifying all the property in his possession that may belong to Plaintiff Kenneth Goldsmith that
Was found at 5607 Aylesboro Avenue, Pittsburgh, Pennsylvania, during preparation for the estate
sale. See ECF Doc. No. 49. To date, Plaintiff Kenneth Goldsmith has not provided an address
Where this property can be delivered Det`endant Frederick Goldsmith no longer wishes to store
Plaintiff Kenneth Goldsmith’s property and respectii.llly requests this Conrt issue an Order
permitting disposal of the property or any other disposition the Court sees fit.

Respectfully Subrnitted,

ROBB LEONARD MULVIHILL LLP
Date: 6/12/17 /s/Joshua R. Guthridge

R. Sean O'Connell, Esquire

Joshua R. Gutln‘idge, Esquire

Attorneys for Defendant Frederick Baer Goldsmith

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